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SE ASSREIIE
KATHRYN E. LANDRETH
United States Attormey
MARGARET M. STANISH
Assistant United States Attorney
333 Las Vegas Boulevard South
Fifth Floor
Las Vegas, Nevada 89101
(702) 388-6336

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UNITED ST ATES DISTRICT CC COURT

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UNITED STATES OF AMERICA. -
. MICHACL W. n068 INS, CLERK
Plaintiff MAGISTRATE JUDGE DENLOW __Wienat rca

UNITED STATES DISTRICT COUR

) VIOLATIQN: Title18, United

) States Codg, Section 656 - Theft,
) Embezzlement or Misapplication
)

by Bank Employee
)

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INFORMATION ?

VS
‘TIMOTHY POOL,
Defendant,

The United States Attorney charges that: @Q
On August 6, 1997, and September 11, 1997, in the State and Federal District of

Nevada,

TIMOTHY POOL,

Shunt

defendant herein, being an employee ° Wells Fargo Bank, the deposits of which were insured by the

Federal Deposit Insurance Corporation, :

with intent to injure and defraud, did embezzle, abstract,

she had access by virtue of her postion as an employee; all in violation of Title 18, United States

yo
DATED this Bria of October, 2000.

Code, Section 656.

KATHRYN B foment
United elt

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Tt M. Ahie

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| KU SADIBTRICT COURT Assibtant United States Attorney ~

STAKE] G gi NEV.

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DEFENDANT INFORMATION RELATIVE TO
INFORMATION

LY.

~—— OFFENSE CHARGED

18/656 - Theft, Embezzlement or

Misapplication by Bank Employee Petey

“RIMINAL ACTIO™ — IN U.S. DISTRICT COURT

i of District Court; suf Judge/Magistrate Location {City]
“ UNITED STATES ISTRICT COURT

NEVADA LAS VEGAS

DEFENDANT—-US.vE El EF

(1 Count) Minor b TIMOTHY POOL
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meanor | 70M
. Address
Felony MICHAEL we nor
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Place of offense U.S.C, Citation Birth URN Fn STA TER niger nak
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NEVADA SEE ABOVE PP
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—_ PROCEEDING ge DEFENOANT
Name of Complainant Agency, or Person (& Title, if any) , IS NOT IN CUSTODY °
XM - Has not been arrested, pending outcome this proceeding

,FBI, SA Herb Laskow

person is awaiting trial in another Federal or State Court, :
give name of court

I : J
this erson/proceeding cL
per {circle one) FRCr

20, 21 or 40. Show District

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this is a reprosecution of charges
previously dismissed which were

dismissed tion of: SHOW

this prosecution relates to a pending
case involving this same defendant l J es
prior proceedings or appearance(s} MAGIST Rare

before U.S. Magistrate regarding.
this defendant were recorded under =

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THIS FORM 1

ame of Asst. U.S. Arty
f assigned)

CR-S-00-0359-PMP- -RILO

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is transferred from another district ™

if not detained give date any prior summons
was served on above charges

ts a Fugitive

Is on Bail or Retease from (show District)

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IS IN CUSTODY
On this charge

On another conviction Fed’! State
Awaiting trial on other charges
If answer to (6} is “Yes”, show name of institution
1
Has detainer we! Yes if Yes
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been filed? Ld filed Le
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DATE OF
ARREST '
Or... if Arresting Agency & Warrant were not Federal
Mo. Day Yea

DATE TRANSFERRED

TO U.S. CUSTODY

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This report amends AO 257 previously submitted.

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AO 455 (Rev.5/85) Waiver of Indictment

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United States District Co rect 6 a |

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DISTRICT OF NEVADA imu S pistaIcT COURT
DEPUTY
UNITED STATES OF AMERICA
v. WAIVER OF INDICTMENT
TIMOTHY POOL - CR-S-00-0359-PMP-RJJ
Ci

2 eta my eer

I, TIMOTHY POOL the above named. defendant, who is accused of Structuring of Financial

Transactions to Evade Currency reporting Requirements, being advised of the nature of the charge(s), the

proposed information, and of my rights, hereby waive in open court on

prosecution by indictment and consent that the proceeding may be by information rather than by indictment.

Bibi

TIMOTHY POOL
Defendant

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PAUL M. BRAYMAN, Esq
Counsel for Defendant

Before

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MICHAEL W. DOBBINS, cuERK
UNITED STATES DISTRICT COURT...

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\ CONSENT TO PROCEED BEFORE
ITED STATES MAGISTRATE JUDGE
IN A MISDEMEANOR CASE

UNITED STATES OF AMERICA
V.

TIMOTHY POOL
. OR-S.00-0359-PMP-RIJ

The United States magistrate judge has explained to me the nature of the offense(s) with which
am charged and the maximum possible penalties ‘which might be imposed if | am found gulity. The magis-
trate judge has informed me of my right to the assistance of legal counsel. The magistrate judge has
informed me of my right to trial, judgment, and sentencing before a United States district judge or a United
States magistrate judge.

| HEREBY: Waive (giv@ up) my right | ‘to trial, judgment, and sentencing before a

United States district judge, and consent to trial, judgment and sentencing
before a United States Magistrate judge.

fa TA aGIgTRATE JUDGE vey till

’
Defendant

tNCHAEL wt a WAIVER OF RIGHT. TO TRIAL BY JURY
URYTER STATES DISTRICT 0 aT
The magistrate judge has advised me of my right to trial by jury.

& . asin

Bi
| HEREBY: Waive (give up) my right to trial by jury. Bhd
oe Defendant
Consented to by United States
. Signature

Name and Title

WAIVER OF RIGHT TO HAVE THIRTY DAYS TO PREPARE FOR TRIAL

The magistrate judge has also advised | me ‘of my right to have at least thirty days to prepare
for trial before the magistrate judge.

| HEREBY: Waive (give up) my right to have at least thirty days | to prepare for trial.

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Defendant's Attorney (if any) “ee rr TIE de
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KATHRYN E. LANDRETH a nan
United States Attorney oo eon
MARGARET M. STANISH
Assistant United States Attorney OCT 1 6 2000 |
White Collar and Economic Crimes Section :

(as Veene Neads B10 | CLERICS OO
(702) 388-6336 wv PN /_ozeur

UNITED STATES DISTRICT COURT
( DISTRICT OF NEVADA

L

-0 CR-S-00-0359-PMP-RJJ

UNITED STATES OF AMEMCE.g Et 2?

Plaintiff, — . (ee yo
NOV 129 gon ™
vs. 4 PLEA MEMORANDUM
THY (cK
CHAEL W. DOBBINS, ¢
TIMO POOL, untren STATES DISTRICT & ys Ts acISTRATE JUDGE DENLOW

Defendant, 5

In odbppliance with Rule 11(e)(2) of the Federal Rules of Criminal Procedure, the
United States of America wishes to acknowledge the following agreement between the United States
of America, by and through Kathryn E. Landreth, United States Attorney, and Margaret M. Stanish,
Assistant United States Attorney, the defendant TIMOTHY POOL and the defendant's attorney, Paul
Brayman, Esq.

I.
PLEA NEGOTIATION

Defendant TIMOTHY POOL will plead guilty by way of an information to Theft,
Embezzlement, or Misapplication by Bank Employee, in violation of Title 18, United States Code,
Section 656.

Defendant POOL's plea ‘is made pursuant to the Federal Rules of Criminal Procedure
11(e)(1)(B) and the terms of the Plea Memorandum as set forth below. The said Plea Memorandum

is not intended to be binding upon the Court.

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1. The parties agree that pursuant to Title 18, United States Code, Section 3559,
the instant offense is a Class A Misdemeanor because it carries a maximum penalty of one year or less,
but more than six months. As a Class A Misdemeanor, the instant crime falls within the purview of the
United States Sentencing Commission Guidelines Manual (Nov. 1995) (hereinafter referred to as
U.S.S.G.), pursuant to Section 1B1.9 of said Guidelines.

Guideline Calculation

2. The parties agree that pursuant to U.S.S.G. Section 2B1.1(a), the Base Offense
Level for this crime is four (4).

3. The parties agree that pursuant to U.S.S.G. Section 2B1.1(b)(1)(D), the Offense
Level is increased by three (3) levels because the loss is more than two thousand dollars but net more
than five thousand dollars.

4, The parties agree that pursuant to U.S.S.G. Section 2B1.1(b)(4)(A), the Offense
Level is increased by two (2) levels because the offense involved more than minimal planning.

Sentencing Considerations

5. Defendant TIMOTHY POOL is aware that his sentence will be imposed in
conformity with the Federal Sentencing Guidelines and Policy Statement. The defendant, TIMOTHY
POOL, is also aware that his sentence imposed under the Guidelines does not provide for parole.
Knowing these facts, the defendant agrees this Court has jurisdiction and authority to impose any
sentence with the statutory maximum set for his offense, including the sentence determined by
reference to the Guidelines.

6. The parties agree that the Offense Level and specific offense characteristics, anc
possible Criminal History Category as determined pursuant to chapter four of U.S.S.G., are based upot
information concerning this offense ‘and this defendant as now known, and could change upot!
investigation by the United States Probation Office. It is possible that factors unknown or unforesee!

by the parties to the plea agreement may be considered in determining the total base offense level an
Case: 1:00-cr-00942 Documens

. 7.

Page 7 of 13 PagelD #:9

criminal history category. However, in that event the defendant would have no right to withdraw his
plea of guilty.

7. Upon entry of the plea of guilty and acceptance of responsibility as determined
by the United States Probation Office, the Government agrees to affirmatively request that the Offense
Level be reduced by two (2) levels pursuant to U.S.S.G. Section 3E1.1(a).

8. Assuming that the defendant's Criminal History Category is I and his Offense
Level is seven (7), the guideline range would be zero (0) to six (6) months. The government will
recommend the low end of the guideline range.

9. The parties agree that no additional promises, agreements, and conditions have
been entered into other than those set forth in this document, and none will be entered into unless i
writing and signed by all parties.

Restitution and Assessment

10.  Thedefendant will pay full restitution in the amount of $5,000.00 to Wells Farg
Bank.

11. The parties recognize that to facilitate negotiations the information reflects
loss amount of only $1,000.00. However, pursuant to U.S.S.G. Section 1B1.3, pertaining to releva
conduct, the parties agree that the total loss is five thousand dollars ($5,000.00).

12.  Thedefendant agrees to pay a mandatory special assessment fee of twenty-fi
dollars ($25.00) which is due and payable immediately at the time of sentencing, pursuant to Title |
United States Code, Section 3013 and U.S.S.G. Section 5E1.3.

Waiver of Appeal

13. In exchange for the concessions made by the United States in the instant f
agreement, the defendant knowingly and expressly waives his right to appeal any sentence to
imposed that is within the Sentencing Guideline range, further waives his right to appeal the mar
in which that sentence was determined on the grounds set forth in Title 18, United States Cc

Section 3742, and further waive his right to appeal any other aspect of his conviction or sentence.
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defendant reserves the right to appeal any sentence imposed to the extent, but only to the extent, that
the sentence is an upward departure and outside the range established by the applicable Sentencing
Guideline range.

Collateral Effect of Plea

14. The defendant acknowledges that he is aware that Title 12, United States Code,
Section 1829, generally prohibits any person who has been convicted of any criminal offense involving
dishonesty or breach of trust, such as the defendant, from affiliation, ownership, control, participation,
in any manner, in connection with the affairs of an insured depository institution (.e., a federally
insured bank or savings and loan institution).

IL.
PENALTY

Title 18, United States Code, Section 656 and 3581(b)(6) authorize a term of
imprisonment of not more than one year. Title 18, United States Code, Section 3 571(b)(5) provides
for a fine of not more than one hundred thousand dollars ($100,000.00).

In addition to the fine mentioned above, U.S.S.G. Section 5E1.1(1) requires that the
court impose an additional fine amount that is at least sufficient to pay costs to the government of any
imprisonment, probation or supervised release for a period, however, Section SE1.2(£) allows the court
to waive any fine or impose an alternative sanction, such as community service, if a defendant
establishes he or she does not have the ability to pay the fine.

Title 18, United States Code, Section 3663 and U.S.S.G., Section SE1.1 permit
restitution as deemed appropriate by the Court.

Hl.
ELEMENTS OF THE OFFENSE

In order for the defendant to be found guilty of the charge of embezzlement by a bank

employee, the Government must prove each of the following elements beyond a reasonable doubt:

First: The defendant was an employee of Wells Fargo Bank.
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Second: The defendant, embezzled, abstract, purloined and willfully
misapplied bank monies; funds and credits to which he had access or
control while an employee of Wells Fargo Bank, and,
Third: The defendant acted with intent to injure or defraud the bank.
Fourth: The deposits of Wells Fargo Bank were insured by the
Federal Deposit Insurance Corporation.
IV.
FACTS TO SUPPORT A PLEA OF GUILTY

The defendant is pleading guilty because he is in fact guilty of the offense charged in
the information. In pleading guilty to the information, the defendant acknowledges that if he elected
to go to trial instead of entering this plea, the United States could prove facts sufficient to establish the
defendant's guilt beyond a reasonable doubt. The defendant specifically admits the following facts, and
declares under penalty of perjury that these facts are true and accurate:

1. The defendant was employed as a teller at a branch of the Wells Fargo Bank
located in Las Vegas, Nevada. At all relevant times, the Federal Deposit Insurance Corporation
insured the deposits of Wells Fargo Bank.

2. On August 6, 1997, the defendant was working as a merchant teller at a branch
of the Wells Fargo Bank. The defendant made an unauthorized withdrawal of $1,000.00 from Betty
Mangan's account by processing a forged withdrawal slip.

3. On September 11, 1997, the defendant was working as a merchant teller at a
branch of the Wells Fargo Bank. The defendant processed a $4,000.00 withdrawal from Marsha
Brook's account without her authorization.

4, At all relevant times, the defendant knew that the custody and control of the
money belonged to the Wells Fargo Bank and he intended to deprive the bank of its money and use it

for his own purposes.
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Case: 1:00-cr-00943 Document#:

V.

ACKNOWLEDGMENT

The undersigned defendant, TIMOTHY POOL, acknowledges by his signature below
that he has read this Memorandum of Plea Agreement, that he understands the terms and conditions,
and the factual basis, set forth herein, that he has discussed these matters with his attorney, and that
the matters set forth in this Memorandum, including those facts which support a plea of Guilty, are true
and correct.

The undersigned defendant acknowledges that he has been advised, and understands,
that by entering a plea of Guilty he is waiving, that is, giving up, certain rights guaranteed to his by law
and by the Constitution of the United States. Specifically, he is giving up:

The right to proceed to trial by jury on the original charges, or to a trial by a judge if
he and the United States both agree;

The right to confront the witnesses against him at such a trial, and to cross-examine
them;

The right to remain silent at such trial, with such silence not to be used against him in
any way,

The right, should he so choose, to testify in his own behalf at such a trial;

The right to compel witnesses to appear at such a trial, and to testify in his behalf, and,

The right to have the assistance of an attorney at all stages of such proceedings.

The undersigned defendant, his attorney, and the attorney for the United States

acknowledge that this Memorandum of Plea Agreement is the entire agreement negotiated by and
Case: 1:00-cr-00943 Document #: 2 Fited:+4/20/00-Page—++-et+-t+e-PagelD. om 3

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1||_ agreed to by and between the parties, and that no other promise has been made or implied by either the
2|| defendant, his attorney, or the attorney for the United States.
3 KATHRYN E. LANDRETH
United States Attorney
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6|| DATED / RGARET M. 8TANISH “~~
AssiStant United States Attorney
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8 Feb. | Qeoe Yor i!
DATED r TIMOTHY POOL, Defendant
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11}}) DATED . PAUL BRA , Esq.
Counsel for deferidant POOL
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POOL, TIMOTHY

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DATE FILED: 10/16/00 DISTRICT: 0978 COUNTY: 3200.
DATE CLSD.: fof TYPE: 3 WRIT: N JUV: N ALIAS.: N
I. CHARGE CNT # #0
CNTS
18/656 THEFT, EMBEZZLEMENT OR MISAPPLICATION BY BANK

EMPLOYEE 1 1
II. UPPER ATTORNEY
U.S.A, Plaintiff Margaret Stanish AU:
III. LOWER ATTORNEY
POOL, TIMOTHY Defendant

OPEN

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UNITED STATES DISTRICT COURT | et
CRIMINAL DOCKET us vs TIMOTHY POOL »
/ Page 2
* oS6A @ ) \ Yr | Docket No. Def.
(vate PROCEEDINGS (continued) V. EXCLUDABLE DELAY
{Document No.} fa) {b) fc) ta}
10/16/00 1 INFORMATION o/d 9/11/97 lgm
-- 2 A0-257 re: D/Pool lem
— 3 WAIVER OF INDICTMENT re: D/Pool lgm
-- 4 CONSENT TO PROCEED bfr mag re: D/Pool lgm
-- 5 PLEA MEMORANDUM re: D/Pool ilgm
-- 6 CONSENT TO TRANSFER OF CASE re: D/Pool to N. Dist of
Illinois lgm
11/13/00 7 LETTER re: D/Pool to dist of N. Illinois w/ec's of fle¢
cps dist lgm
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